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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

     Plaintiff,

     v.                                                 Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.



              MR. FLYNN’S RESPONSE AND NOTICE OF CONSENT TO THE
                 GOVERNMENT’S MOTION TO STAY THE SCHEDULE

          This morning, Sunday, February 9, 2020, the government filed two motions with this

Court: First, a Motion to Amend Briefing Schedule, ECF No. 165; and, Second, a Motion for an

Order Confirming Waiver of Attorney Client Privilege, ECF No. 164 (“Motion to Confirm

Waiver”). Both the relief requested and the reasons underlying the government’s Motion to

Amend have changed since it conferred with the defense earlier last week. Given the government’s

Motion to Confirm Waiver, which raises issues the government did not mention previously,

Michael T. Flynn (“Mr. Flynn”) does not oppose the Court granting a stay of the briefing schedule

with a status report due from the parties by February 20, 2020. However, it is imperative that Mr.

Flynn have time to brief the issues raised by the government’s new motion regarding the attorney-

client privilege.

          Pursuant to D.C. Local Criminal Rule 47, and because of the importance and complexity

of the issues surrounding the attorney-client privilege, Mr. Flynn advises the Court and the

government that he will file a response to the government’s Motion to Confirm Waiver within the

fourteen (14) days afforded him under this Court’s rules. LCrR47(b). Furthermore, Mr. Flynn may

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also request a meaningful opportunity to meet and confer with the government on the issues it has

raised in its Motion regarding the Waiver of the Attorney-Client Privilege as it may be possible to

resolve it by agreement. It will be February 17 or 18 before counsel for Mr. Flynn could arrange

to attend such a meeting.

       For these reasons, Mr. Flynn agrees and requests that the schedule be abated or stayed until

further briefing by the parties and order of this Court.

       Dated: February 9, 2020



                                                Respectfully submitted,

                                                /s/ Sidney Powell
                                                Sidney Powell
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2020, a true and genuine copy of Mr. Flynn’s

Response to and Agreement with the Government’s Motion to Stay was served by CM/ECF

system to all counsel of record, including:

       Timothy Shea, U.S. Attorney for the District of Columbia
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
       Washington, D.C. 20530


                                                   Respectfully submitted,


                                                   /s/ Jesse R. Binnall
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